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                                                                Exhibit 1
 1        walked in the local police department.

 2   Q.   And when he -– and then I assumed then he was assigned to --

 3        to you specifically and your partner?

 4   A.   Yeah, so we went out and we opened him and then he was

 5        assigned to us.

 6   Q.   When he -- when -– when you first met Dan he was already in

 7        Wire and the Facebook group?

 8   A.   That’s correct.

 9   Q.   But he went and joined this on -– on his own?

10   A.   Correct, he had done that on -- on his ow.

11   Q.   Okay.   So, he would be a part of the Wolverine Watchman at

12        that -– that point?

13   A.   Correct, he was already a part of the Wolverine Watchman when

14        I met him.

15   Q.   Okay.   And you said that he -– you said that Dan had to sell

16        his house and leave?

17   A.   That’s correct.

18   Q.   And that was because you said that he was being threatened?

19   A.   That’s correct.

20   Q.   Was that after the raid in October?

21   A.   That’s correct.

22   Q.   Okay.   So there was some people who -– who found out who -–

23        who he was?

24   A.   That’s correct.

25   Q.   Did they find out before or after the raid?

                                           17
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 1   A.   Well they definitely found out after.         As we just read from

 2        this exhibit, there’s people that had posited suspicions

 3        throughout the case of who informants might be.           But he -– my

 4        concern and everything I was testifying about was after the

 5        raid.

 6   Q.   And you said you gave him six thousand in reimbursement and

 7        twenty four thousand in payment, correct?

 8   A.   That’s prior to the take down.

 9   Q.   So after the take down did he receive additional money or

10        assistance?

11   A.   So he received approximately twenty four thousand dollars in

12        reimbursement for witness relocation following the take down.

13   Q.   Okay, on top of the twenty four thousand payment?

14   A.   That’s correct.

15   Q.   And on top of the six thousand?

16   A.   That’s correct.

17   Q.   Okay.   Is there any other, did he receive any other assets

18        like a car?

19   A.   I mean all the other assets are included in the

20        reimbursement, so there’s a you know there’s a computer, a

21        phone, communication devices and accessories that go with

22        that, that were included in the six thousand dollar

23        reimbursement that –- that was accounted for.

24   Q.   Okay.   So that’s a total, yesterday I had thirty thousand,

25        but it’s more like fifty four thousand, in total

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 1        compensation?

 2   A.   That’s correct; fifty four thousand is what I had as my total

 3        payment.

 4   Q.   Okay.    And you testified yesterday he -– you -– he -– he was

 5        instructed, well let me back up. Well yeah, I’ll ask the

 6        question.    He was instructed that he’s not allowed to do

 7        anything illegal, correct?

 8   A.   Correct.

 9   Q.   Okay.    Wouldn’t you agree none of us are allowed to do

10        anything illegal though, right?

11   A.   Well I have the ability to obtain otherwise illegal authority

12        and then actually provide him authorization to do any illegal

13        act without being charged.       And that’s something that we

14        didn’t do in this case.      So that’s something that’s I think

15        is outside the scope of what everybody else has the ability

16        to do.

17   Q.   So your –- your allowed to do illegal things?

18   A.   You could be I could have that authorized through the US

19        Attorney’s office in rare circumstances.

20   Q.   Okay.    And you’re also allowed to -- to lie?

21   A.   Are you talking about me?

22   Q.   Yes.

23   A.   I am allowed to lie, yes.

24   Q.   And you also trained Dan that he is also allowed to lie and

25        engage in deception?

                                           19
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 1   A.   Well I didn’t train him to lie, but he is allowed to engage

 2        in deception.

 3   Q.   But you –- you did train him, correct?

 4   A.   No, I didn’t train him.

 5   Q.   Does he have any prior FBI training or -–

 6   A.   No.

 7   Q.   Okay.   Do you know how Dan knew how to be confidential

 8        informant?

 9   A.   Well I knew his; you know I assessed his skill set that he

10        already had as a civilian, and that was one of the things

11        that I looked for when I signed him up.          And I knew his

12        background from the military and what kind of person he was.

13   Q.   And you would –- he would report to you daily?

14   A.   I mean multiple times a week I’m sure it’s -– it’s based on

15        the -– the pace of the investigation, so sometimes it’s

16        multiple times a day, and then it’s based on the pace of what

17        was going on in the investigation.         But yeah, multiple times

18        a week on average I would say at some weeks it was daily.

19   Q.   And your -– so your in charge of the plan where if you told

20        Dan he’s done, he’s done, correct?

21   A.   That’s correct.

22   Q.   And you -– you’re in charge of the -– of the direction of the

23        investigation, so you -- you tell them what –- what to ask,

24        what information to find out, those types of things?

25   A.   Yes.

                                           20
